                                                                               Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Preppy Smiley Face Necklace Beaded Pearl Necklace Y2K Choker Necklace Summer Beach Necklace Trendy Colorful Cute Necklace Unisex For Man Woman Teen Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Preppy-Smiley-Necklace-Beaded-Colorful/dp/B0BYD7SD94/ref=sr_1_198

   Collection Date
   Mon, 24 Apr 2023 06:13:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Au/Y05d4kJxB5/D+ob/G+r32sB2UiesMbDwuN+OdMETI2s+g9ZKeNqE7qglKshnmDcWhSOhf1FYvXz0JAYmJXqWJpP3Gn9Ft9kElXk3oJMa5hQp5vZV0GeVePyun5YuqV3G9NS9iFgk3zJSQVrRNbRzPWINgoDgMbtCsDo0ubZQ=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Preppy-Smiley-Necklace-Beaded-Colorful[fs]dp[fs]B0BYD7SD94[fs]ref=sr_1_198]]_Mon,-24-Apr-2023-06-13-17-GMT.pdf

   Hash (SHA256)
   245d3debf591d6fbd2d2e50e3d355835525675f6daf387517ce8f2b016054fce

   Signature (PKCS#1v1.5)
AgE9gFzkWRHmDliN24cRc5ERTdqm+kYGu4Vu76WFuAab2ubmDWS+0kapK+yHZig/9pgNAekOvx1WVGfJA04UQKKhbrkGKHhqvYlQH1YUGp5ApTpOlYvK8JlJPshurD/7w/BuJzdPkpHGAouxRfDdLgpeP09My5JaSEzbAIgGXdE=
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 11:57:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UosP7DNE0sD1P9wg2PJMWGe+pWNh6pVVGaYIB890An87ii0cSXdp8BVYmKbP52OYQb329sEHzjSCnxiEj1f1z4OzVbE/SNtApKQvhYNScPh/UUmoVq8NWdWf+BVptAtVys9Y2x4V7tSMC6+dGywFrGRWl85HtIkKSD+nJ8dDBdg/G9RK7PKGnqwRzgQjb/K6iPVcTyPpILpAX0+aV9e/
   nvzeN1bLDoXHFpxR7pAbSNbLDUboEWepdDWQ1QHcrQ3j9V5YPwcNHvYLjd1IRNOzL0mqUnldu7FiLzSDGPaHYAfk73rPAPciOI5YkOPbDSFShk9b8ZkwUcaTn6aGPkfeXg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-11-57-32-GMT.mhtml

   Hash (SHA256)
   0e009a80f4d3ca9be79d2de79f1358420db5969a7806b2f7bbc7b9ac7307f963

   Signature (PKCS#1v1.5)
IeFLrxtbVtJ0EOCP/Mi6WhRG8fHzlvnES1eykwL2+18+Kq1CJ+J6gP+quXZ4znKfmgA0Iz4FH4MorWjqgFDE5ik3srgIeidIWpWBfP8KUtxqW/X0Uwvp/7GfQAtnCZvXcnzYdWqA/ArxNwgQJi/FjGvqwGADbKBAuUlcsDPwJ/8WoTdoe3zjvY9jnRufRznMu4t+rcEpu3rbJd/6N33f6SnTGN5mMkX
+n7TZO5vB7UcyyU9cn7Mki7kTzj6T/EXKjLTrU1Svzyu/n62eGod1L+rc6jjLA6oALUwm1NXXKGIdUfeVJuppW5E/M1+Pnd7u22FkGJvbyHuOwOo46p4+1w==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MythDone Smiley Face Necklaces, Cute Round Rhinestone Happy Face Dainty Necklace Colorful Enamel Smiley Face Pendant Gold Paperclip Chain Necklace Y2K Jewelry for Women Girls (Pink) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/MythDone-Necklaces-Rhinestone-Necklace-Paperclip/dp/B09F6SY1YN/ref=sr_1_200

   Collection Date
   Mon, 24 Apr 2023 06:18:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Y561iOu/vleifqKtB03jMIm6kfY9favyJZ1Z/jn6mNZUeV1Hu1rcPLUIV97VFZYJTxPnFkaovnCMQb8Ni4agYUlCqZ8Me6HV/F8OBQZB6unlYPJg+l/mm5pSHxEdgwhD8JHSx9eAC/VLhAa31uP+ppp6B+mp9ssYe80AIkF0JZU=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MythDone-Necklaces-Rhinestone-Necklace-Paperclip[fs]dp[fs]B09F6SY1YN[fs]ref=sr_1_200]]_Mon,-24-Apr-2023-06-18-48-GMT.pdf

   Hash (SHA256)
   5e78a6413256c6397087dcb26c9ab159a28095d64885c2fd2df0bb5382462287

   Signature (PKCS#1v1.5)
Sf/tr3EZ4dQ4UwimfmCgGYajkUpG6c9lgF4vucH4EQU3uep1ETOu6bywmTfzlyE64F+M65vWU72CuBV+vxs9secUBOpk9C/6Ot1V5gPR0Z/0zjWsn5qCi0DFTTdEXUDfyk43SGMSrpBIJoV81Sym+UpHrAtnazl2mtKoeg+XhVk=
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 12:30:31 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mQ4z8gIhYdp9IbjKL2C9spAqRGiUHbj28v3tDWmoEPU6+e3ZG3qcm+h0auQkQ/STNxpn1hJXqXPi5YFYef37qUroAZY6JHgMt6wgOygJlLkiaQZFoxQHY8CqnLXaU8L1LUVFt5TLmoMxvvq+C8c3lbbbJruTOZYYlDlu2qM5rZiA8+GcDrZVU49Fn9jy1hZsrG7N/
   zGsf8HaiAC2NJlXMuvJ/6EeNWcx/yFZS8f3bNBxOqf4Aaq96Mn0mT068BA5Iq1YWcIxTXIrb45mLFCYXO/y4DHsM/dSp/I3RCXQtLaWVpBEPuBuHpWbEq/hTvXI/RwVnzUKwyP9v0/di1nnTQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-12-30-31-GMT.mhtml

   Hash (SHA256)
   e8b20eff80ec898938349a36ebc912d32a96566f33a82884fa1fc5d5cb99b1b9

   Signature (PKCS#1v1.5)
GlrKIc3yIIzpPWvYP3GoxOwMiVWvzLiHt3SaIjtyikyne+M/P06OrRG0EEXGEs01qn5S2UeFZLX+9Rb4ECtgQ03s/WomgiJSiG8xVN4/
gBq6WLNuTuilaRae1dc519L7m44Opn8qk4kx1dkfSIKBD9nljRsme1DV2JqnxsWesHO6MXuybk2HEQIvoLH6xcxQD80/88jGK7L6LWmT4fMXijeKkzSC98c7BMU9TOWLzFwGl7xFu8zdD3WRZXlBuy7lC1NEpxEIflWruuPGjzZhCNKEJrHHAxwW5dVgZdG5qrhMUjdYZ91LAw5io7aGwvQWu6sZ4h
GlhJMmFcAjdt8wCA==
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 10kt Yellow Gold Finish 925 Sterling Silver Womens Round Cubic Zirconia Smiley Face Halo Pendant 1/20 Cttw : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Yellow-Finish-Sterling-Zirconia-Pendant/dp/B0BLT26ZPT/ref=sr_1_355

   Collection Date
   Mon, 24 Apr 2023 06:59:12 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WIfP7yIR38ZLuC+nr2cgAY1grTz/BguR6ZH6k8dg9isC6ONYv2AT4hJ+TXbHzd94Tdr4AT2LJKVlXtyed/D1cgsSHG9h5YOZQHAObmHwKtxauwIg4e86tjd25OzHZBIzoxWCgxCxI29bfZf7tEUZIicHthocgB+kM19b6228YGY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Yellow-Finish-Sterling-Zirconia-Pendant[fs]dp[fs]B0BLT26ZPT[fs]ref=sr_1_355]]_Mon,-24-Apr-2023-06-59-12-GMT.pdf

   Hash (SHA256)
   24caf7f06e813cee1639a9579f4a8b296d648607dafa66bbaa1fa986aed4ca0e

   Signature (PKCS#1v1.5)
LnmN5DCCvAk0V7nj+GVDDLsS4H2iSYVOWdgLpcYAGWgGexYzVkLYl2ISWef8d2ejQ9v0/atLJiNuybADYeCCYKCbW0N2DIR1ab9+yu47KL7QTV4uwhcfY/Qt0YrS6g0sml8cxwOrIItskts9gGE8Ag0JXcHgfiD5pM7b9Ld8DOk=
                                                                                  Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 03:55:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Gm28GuCRy5G9waUI5vlL4hFBOG3plhTQEafkVeqVCulLcD+z6ue4mQPmHKM7aam4pfo4ZQ8N2KfUnO5bUiSr9oaJRPs2WLrT9HtJbgMHdY9toA0q+apkfkNYwkQ/8ajpXcTW1ZGQcJaQnnqX3ZtBg+/iw4lINWx9jybfaJhcRlP+NOqLLKklnjIJ3j40+defylF90mrv66sTxpRBLPE6QuVBhK066eP
   +DTEKx6DK96J+8Nu+4FNAYD24jJVgYkM0DPy+Mmc5NwiT9n/G9RSvVtKM8Yzcz2iT+l+QueaL/6tTB3nT/uF0Rbz7Cd1UJDWjx/g5YmkdtpN9z7QWIyYK4w==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-03-55-04-GMT.mhtml

   Hash (SHA256)
   78f72721e9ae14df1944c5bd483c1a8ef64b1cedc4e7913f8ae1c53e8f4c2b84

   Signature (PKCS#1v1.5)
YEhKwowW6HBjEpiR9g+BJl1ZDfWI6nBvlJBZmU146M4Ze1Gex7XMvhblo4bxIouhIVUofDadYlYavYXRRUh5E2mkzJ4leIu5Q2tAN9L2s0TCQSKFOvjVVTjnKGokvAL7HE0ZgxiNDqXm/RPbKFpgi30t71J+q1nBGNYU8Cw70CUm9Mvxtd4St0wjRVuS9aTTM
+nG58OSGHMvwHEu9RFx8NtNIUoNr6U7uz0zaQd+tFJkcmQRh3XeYzKiXtor06nVEGVcSpn2Ho8VIMXOCeR5sVk/h2g3n2HZgtdAuLvnSDqVJX9RB6Jy8J2ohhg4UarAjCh6sbUXc9n5dC76/O8csQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 34Pcs One Happy Dude Birthday Decorations - Pre-Strung 1st Birthday Banner, Smiley Face Groovy One Cool dude Birthday Aluminum Foil Balloons Set, Hippie Birthday Decor : Toys & Games

   URL
   https://www.amazon.com/34Pcs-Happy-Dude-Birthday-Decorations/dp/B0C1X5LMQ6/ref=sr_1_69_sspa

   Collection Date
   Tue, 09 May 2023 10:22:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QK4hy+uW1O5tktiERmp/8v/AIUdfcQRtClXHPag69DG2cSaLHOXWIxWykQUrWIITZtA2GRAmrnLFXDQguY5fhOLVelUESxI9Dudzj/T17n6sxnx5GU9zxL25vunRYScRjWZruCgHWg6kGVGinMS7sivm0aLI2HbmXnfH6O/qXRk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]34Pcs-Happy-Dude-Birthday-Decorations[fs]dp[fs]B0C1X5LMQ6[fs]ref=sr_1_69_sspa]]_Tue,-09-May-2023-10-22-15-GMT.pdf

   Hash (SHA256)
   e6f214a7685550d4336408841a3c6038aff58c3a9868c4dd1c09b5a22e5e067a

   Signature (PKCS#1v1.5)
WF8UVRNwX2mn3pRfBTu3yh1FXuBANEx9ZLpMFYYBXPS28v9OIdpjSlF0NuDj4WpoXw0gPU9PAdI5HihXGcU0B6l3zB53FHQiuu78rBZc4y+LVL9zafK9s+FANcBqYS8c64/A/guc/mdiIDzShUWxu9O8gHrT5sWNCxOGxoItW2U=
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 10:34:55 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KVfPJPqeZASFDeuMv0EKfbUDtkl/BwKbUp6z0RmMmy2jqrZGJjm2ThMkCrLKvaHjVfErSPRe4U6sI0SsSbjlR/EEoVk/+mqlRIpY3AKSfxD5jNnywOJLx+Y9WV5+j5iCMjY5NvWBT1fsdRQk3mngkZx6EGU9Q4PQ/RKrTRqwS15DsBZZAP
   +DfecGdrv5eWIdFGVNjYVrO60H3XvgBEoofM7YbegyR/B6ME5+YNtEDv+e//GEMJOTjh5zrVWjHop9Mka+AsMjwwcSXN0WKxkIeqwgb3s9zFOv+iffqUJpkRr3oGF2TpknszmPmOPIlVDbSlyFQjM7WSHOac1xqEy8DA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-10-34-55-GMT.mhtml

   Hash (SHA256)
   fc14cc8b15782dc24589f9129dfe42b7a39a0ee164760a88fb060bb1bd5430c6

   Signature (PKCS#1v1.5)
HbT815Kx3u2Qc8WHDMMsYeFJ+N35anlB/exMwis2rdqfzHkN0wOKi1StN4cNNkl5+sVxcCbtKFPn24aX3oMiayio0j6NupK3i49vrHJdlLyDgr3OmlWPTpXLO5br0NQauEFHmMXqI5hN88aaa+d4PDIudbE6AzTrn7qoYzbmRzepC/imhPc0BVrM49PvUkT2vB2qR5bqOYantVQ3ghprkMQEPDAc/
ZfXyh+AxZF6YMVF4iWmP0mpy+VZa/7XajvIHzIExGiaG49j56cAVDqUoYpRvGP56Z0V+6EvfDXoQsxZdL6H0gKsnTw1E/zrVtVmaKGY7xUAACpSZ8gmRMkm6A==
                                                                                  Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | NateBur Smiley Face Slippers For Women Men - Retro Soft Plush Lightweight Smiley Face House Slippers, Indoor Outdoor Cozy Trendy Slip-On Slipper | Slippers

   URL
   https://www.amazon.com/NateBur-Smiley-Slippers-Women-Slip/dp/B0BK7VLMNF/ref=sr_1_296

   Collection Date
   Wed, 26 Apr 2023 06:07:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qtEr+e2U/NlOV+Hq9sHwxzh9AKdq74b8pL35JtT3/RkKJWGm0d/knJXUw/wo846U+gsx3E1uuqylZHpxMi8+UuqRei1hXFWXwRAC3IKkrjdEyOJviBBvZYHAZqGg7LQSV4R3/GGW4VqAKnYhSTqYJRNUcqn4lHVvbc1o3NyaOEE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NateBur-Smiley-Slippers-Women-Slip[fs]dp[fs]B0BK7VLMNF[fs]ref=sr_1_296]]_Wed,-26-Apr-2023-06-07-24-GMT.pdf

   Hash (SHA256)
   9e20532ee1e9c0bc656b9e8e414ac913375e2e8fbfc233724910835bbb30f25a

   Signature (PKCS#1v1.5)
D1jI5cRgghbMk6pjrgM6/t1/khNxma4c0ibdq7c+fXDcjCmcu7zwvLCZSqpAXA+U0FwKO/1/1rrSvvDrpgu89KpEfJkOn6/KVPcikXHNctDxH8lCK0SftP58HtoZOxkc5nt+RiRZVAAvdwf2mN7u+brn4Hchwy4z1te6E3WRM8s=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 08:55:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Nm+rXM0GrpWT4bHJpyqee78lUcek/qCsPsT+s6mNhjx0S75tBQqAAukVSgvJnvVgyO9mMNilHQVxT4PdEzJO2wtG4G8+AfWL9lbaf3YFw+89+ZYJMpv1gWk9/o1GOEt0tCx1cD43ZjxGSnPst6vgXDb0b7p5sZ92DijJI4pw+m8mQy/mo/cC2aa13kT6r/
   agLw1QcvoD3CeIHht7FGVfR5xa55iRwMrcklJy9dLNwB4Y+Islz7UjYUbJG+5qo/zbFzWaBM5eMfV8o/OejTyU/DRrKlWwktcl1vdiANu2XMUl0ERwJkNFI5q702w1AufoiP/H4GMWPw6+UQbAEwbqsQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-08-55-27-GMT.mhtml

   Hash (SHA256)
   dbd4bf2baccdd41adf35aae78f2244f77137ddd11d46fcf5ffba808af0f52def

   Signature (PKCS#1v1.5)
QPOb7R2rBAuOMoiAAUeMFUtMoCMEL/6CbpkvQSbWtm84E9YoNORBx+rxeuiMbeu4kpyb70/h859/mhGPi68piMJNAoF5Z+h0aO/0zoExjTq4M6K6ELAzzVJ3IBLWSnGgGVgJOWofGiVdezeXsWUB9Dc+qdusb76IrKjT9xWp98CHBtKcOsFgELr2bilFMbjw5S80H9qHBMCVKiTnajuQREICvjMow/
ZRcws8cl0trlbv4yMGX09FIHF4J8YsUF523uv9Bk1+eQYBJY4OApNZZMc4ghL3cdcOwkIyQpxunU4FYDANta7Bmcf2FBjKc7JnERaAgQ625KtCMS3x+IAsGg==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                                                                                   Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com : Smiley Face Sunflower Neon Sign Light LED Smiley Face Gifts Light Up Sign for Bedroom Wall Decor Neon Lights Wall Sign Smile Face Rainbow Flower LED Sign Party Décor Sign Lights (A. Rainbow Flower) : Tools & Home Improvement

   URL
   https://www.amazon.com/Smiley-Face-Sunflower-Bedroom-Rainbow/dp/B096MCXGQN/ref=sr_1_14_sspa

   Collection Date
   Tue, 09 May 2023 08:41:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nHZ9e1mOMbZXAhfnyrYaB+9p+RqApdUJq9Y9Y9PX8X89w3J0IZ6BNWqWbg4+cAQE2dkFVHOpwdcXhjCn1JFK40l60Bm2Wd9ykXhXH0T0oxEtYeqLAhhBZlnnQ33pDGcBx9MIrjhOlHjPs50wBW+y7fV+4Bo/4zA62T5r6B5Ysn8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Sunflower-Bedroom-Rainbow[fs]dp[fs]B096MCXGQN[fs]ref=sr_1_14_sspa]]_Tue,-09-May-2023-08-41-35-GMT.pdf

   Hash (SHA256)
   d6c729cd5d2ea2f06663182ef6d10eb71765383ed3c9349d6c510e3d68de96fa

   Signature (PKCS#1v1.5)
FDCwvZHcPsBC+bEf0DuZ4xFbRKaDWH+x8p8foQ31rKKqdaQe2Cg+/yKNm5za3+jESZ97PADPfdd+HMS1VUmlvVaWoD97MLKSf7Elzis54Mp5z4TbmvCNznt2G/LU93H+EEbYlRUmpHyoYH/7iyGkI4JcXRxLyGI5jJjn4tGICj0=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 10:39:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fayViVh0jBWg+g079Q4vNNy5dEBYlI96zxBAZTAIGwe312/FOW9exQKSyxX6MT+wrOIxVbjbCbYWKN3Ww4uDlWNov3KgQjOZ28kmdECKCzLh8jTssYmxloIRmOcRqy0/54bcsWrS0jvfCP1oGQN+/qjPmq+9J0/TzMGHCwLBFfTfhoXOJgzSXnglk+fDwRPgzsK0yqJlJTy
   +R7yaYeKhITk6RGculczUMfskMX8pUFslF1HwvMymA5HPGtTGEs/o4T1kVsA0BhKu8R80yleQKQzgOAO781ptJp+tuSqC9DPubUwyBpjBq4e9sy8w7Y9fkteHAgdjghH+uPBp9wM79w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-10-39-07-GMT.mhtml

   Hash (SHA256)
   35e41be1d3f0d63134098cc158c2671756b7dcc576d59505873a739e3d895099

   Signature (PKCS#1v1.5)
Sg1Dcw2XniaXz5e1HJ92Sp+MgFZeXxzOQGzmUN54T6EfLnf+atwXHNfJ9ArYYPBAYmF6fNvEqEuqC0FAJ1AsPAsNhcjerYX0D4wEzqEyaGO7ZHjgKd6od2JRyzfBrYhZJN6vCCjCJ3b34TnfZTAuJoXjOfSx7tGG0XeH+uBXRjP9OX9W
+eV92KiWNNAMhfW2Dq6klFEOKe4DHlKRbhLsdV3m3ZGttdQQXsudSrhG1zEl31+qng2U+hVIA+kr9SqobFUe11LGH3RgV4AUwInONUN2GEQ8MpGpOuJBVBzWzdI4QA5cE3ESnumFworP5kMN8qyQ8cKhkqy/VxgUxz+vZA==
                                                                               Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                                              Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: NEQTSUM Smiley Face Slippers for Women and Men,Sandals for Girls and Boys,Indoor Outdoor Open Toe Spa Bath Pool Gym House Casual Shower Shoes,Quick Drying Bathroom Cloud Slippers EVA Pillow Slides : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/NEQTSUM-Slippers-Sandals-Outdoor-Bathroom/dp/B0BX49L2V3/ref=sr_1_50_sspa

   Collection Date
   Tue, 09 May 2023 05:02:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OYUw6c5XLPBFYUmb3OfDyOO5LxJBKEFg4VDO31KkzAht8BiOOy/Coyoh/GRKIAK5GGgCy4bno6ghuMixLvpjqkhMHG9v3v+yoRTKrZNYfepkSCWvhyaS/WJ+/hPa8+dbKjFzmgw5J4uEaLZycUtG+W4mmUhKotOACtOS6BD3/jg=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NEQTSUM-Slippers-Sandals-Outdoor-Bathroom[fs]dp[fs]B0BX49L2V3[fs]ref=sr_1_50_sspa]]_Tue,-09-May-2023-05-02-05-GMT.pdf

   Hash (SHA256)
   e74629e9ef6c6f952ed947cb96af1ccefc8cf49520257e36e6b8454aba0d2e78

   Signature (PKCS#1v1.5)
TtdkpuzWrVDhXRkgc29EYKg2DQSywGvA3/YQO+PldTr4uEMb/sMYSyJDEaTrNU3+ywHyt1DMLFllPhCf5XYFCkyb6ClmYkcuBpBMf4rJd4bZZPEv8QKrRrKrIfwuHJd2VlJfewCkloQSb8zqtIk/tUJAb7rO4U/2XWnRWp0OAf8=
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 09:05:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Sq6ZPlVxCbG/Ku+vHyI54PAUwvBtPrKZ9jqXu+cuHtuRU7BRZ0Gn6bMk/JWKeuTHlUgI/GJqFJXkY4AG2rs8+9XeGzXYyNRRWiAX44MPAzIlRnLiXookqiFwTGMn+Ux6IjY6GLUciBGimkFlxhrnYk/w6lD1UZr3iZKEuQyIenilNHF79+o273/btGJk21bKuGqyr5PXNw/RZZEjG+
   +8B5IPVZsodiPV1VbjZOVpLmh0GogDA0tENoTRK6SKRzDvAdD7bCoE6Lh9meMVupGlA7JQBeoG9OBoUy+CncmI2XeOjflDHW/OKkCKYWdcHHVqG5281fOBRm2gS7atTXWDrw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-09-05-48-GMT.mhtml

   Hash (SHA256)
   73d18731238c1cf5c43fd254d9938b552e32a6cac41f66a7515c596ef42ab879

   Signature (PKCS#1v1.5)
IlCbKpnXqimNpmDqHbS8ChjfyoHZuslRvjSzsJRrZ1zTsHFApZoiXAFA/CQkYSRkzaGDHZf+549vpFLpxU9wuOczhm9AKuGDmps+MxrvptdJANwphszK/YAedZb0L45OFFpUAnN1pXyIJBvg0SpUHF5HhKylKhltP5yzAGoU8yM/khX+I6RWwf6T6ndlzM5mtyrXMhsEBR1CQwhhydkM4T/
F8kNFk7WpF7/YHz/RAqaK+YvCZ6t+dlVpomhE3MuEZICKG+p0GhrV1MFn9BQjtj+HEfja8vKjiRXmpa2ZqXfWSgXpX4E9qfNVXbbGVNc/aVXPr1ihRb6ZncSdJEaLHQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Trucker Hats - Jesus Loves You Hat, Adjustable White Mesh Foam Baseball Cap for Men Women at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Smiley-Face-Trucker-Hats-Adjustable/dp/B0BHYQ6C7C/ref=sr_1_167

   Collection Date
   Tue, 25 Apr 2023 11:23:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   morw4P4CRGSJ+WSs1ORc1h0RXUgUwzVVZUmZ3btzQ4gxZAo9gOkSJgQ/QOLqUqZ2K+fWUVE92oGWSzFmXmvB1yqHiQPfuye9pKA7nvomUlxEXTQ2Z7EA9APQ3LpWiH9Rd/Bajtgs57To584dW5NpMVrsp/GvJotZIu+gFIjszTk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Trucker-Hats-Adjustable[fs]dp[fs]B0BHYQ6C7C[fs]ref=sr_1_167]]_Tue,-25-Apr-2023-11-23-28-GMT.pdf

   Hash (SHA256)
   286b881d04261d681bb6d5f787eb08387dc9032cc89524f6386b5c369d411aac

   Signature (PKCS#1v1.5)
PPk2xffNgyej0Icta0bO5GYqVu0KKAZ9byjECBYvAwPWItg5LDDJpIOMPMNKm6x24k6Qrhnvxzeog3rNL972sY10+Z5378srN7aG5uzAtZ4IHn6V7zGInnByqojqCXyDLzGf5nuF1uD/D5tWMRugowKObaL9zbrEq4XJOHtlvkc=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 00:28:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   URA2hIvthFOqq2G9JI7ll3TjTZi62f1VjR3l9ljvFjSTtRyZIOy6J0tUFEoeM+1BwY6uJK26PcrvmRmszpAGsO+nuoTiuc0a5/BrdV61yEES94O2hIUAUYnJ9eZQqEc4j2gc1Ys+BpoUYoELX15GscwaN6oUIlGYVzV4GnlDPrpYHOiNoAnXhnconZJVnympuNLFGO
   +wgRS3PINJQaeXkHWb65CJommHYer47fpp3aqpFNwvSBjP05PUGTGYUijsYbN4Vja8nqBDcKik3x0jORws0xJ6zgVi66XnClxin2wzMk6WSgSbe132c6d8pCh9EI137jLkmvCe0+PGW3zg6g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-00-28-28-GMT.mhtml

   Hash (SHA256)
   f23e00b5b76b54f4f9f3db4df34c2bd97e93c5eb7f7de3e694596ba88d895aeb

   Signature (PKCS#1v1.5)
RuuctnC4euDFQf7y9PgXTMMP1roWR1bju9yFdGwHJV5fDTzkapM102MTKz/eQRyuMky/IaCC8FsnOGjhMZrquVw7XkhlnOCUUDVZ45kozXPNlgvb30iBzMN6BRW6Gex1js1hoWv4snvJQTD8grtPPJ6BK5m3EaqhRnthzHAu
+SZWPfSAkOal8+H4zP0jQrPsEMyRrU4Rqt5xMTs79rgkZVQfOqvyJK5+BM5q1EEq9BbNGN7VmOXX/TG5Qe9UMew5T+a2XXiQFpBsb9uDXD2EzG5J9PtsXlMoCGcZG5RQT7ZtNwwC8nQEGVdVqfDzP9N9Z2w0773EDEGuS9fNn49/Ow==
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                                           Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: cobee 500 Pcs Smile Face Stickers Rolls, Happy Smiley Face Kids Award Stickers, 1in/2.5cm Teacher Incentive Positive Reward Stickers for Kids Toddlers Classroom School : Office Products

   URL
   https://www.amazon.com/Stickers-Incentive-Positive-Toddlers-Classroom/dp/B09JCDH5D4/ref=sr_1_18

   Collection Date
   Wed, 14 Jun 2023 08:39:52 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mzDEpTCZHev4pkilusCcEp1fSoDzUbNNT7CsCNVsuQwzNNNnybhIKHMmovVsu4rvWfp8voYGUIHgRjh37zL9/ciq2ydGd4WPNRTaz5dxK/RDWqLa2nDKewoH+0elda9aj2mfJaIJtCnIcl/Pxoe3771ADK1hmPaCAAV1PJsRrKE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Incentive-Positive-Toddlers-Classroom[fs]dp[fs]B09JCDH5D4[fs]ref=sr_1_18]]_Wed,-14-Jun-2023-08-39-52-GMT.pdf

   Hash (SHA256)
   1a69b43ace03ab9654a797771c36fcab17efde62c880be6de4ce20720937227b

   Signature (PKCS#1v1.5)
pEy60jgcZfld30ghq2tTfhlau3DtuJtx2EP9jLVaP3ZsZ1LFaaGrReYViYPnl1Nubmy1A6pCQrynA3PRtesmUpgn471IHmd85HRbgSrcT9v7RX1+djW9GgEvZo8LjTWgP6K2F7IL4IFprIONSsr7jmSu3FXrN7IyDu+xlPsoYr4=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 14 Jun 2023 13:33:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.131.66

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AdxfRgEr6pPVt/VbIA90d0HU5OWLiNVhxu3QaPVt5CNyt0YH3qRUOlYGdZKdbDlbjGAFVLmCskK1QNsKGU5DE+Bza+R6nZy+2fJGwlPi6Jgn6J6VO9Wtt8UEvx
   +AXM825jWDQjLINxQcZTm8jUveooKgU5GYm3CHj80uCmbvA663jxJOnBr4WcNBljDJq6dQzZm6UYCaDtaAuLH5SLWM4jxUeoIotLiOnk4L3gKfNTdNeRA7xl2LlVqOgfklt1vDpp45QL1UjyuvtinAL4M8Hwdb+/4K00BuuhNYVRlVQaUN7ZkA4DKVE8oVPg2sBKVtFAQSQXH/
   frpqsOymtQU8sg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-14-Jun-2023-13-33-29-GMT.mhtml

   Hash (SHA256)
   4192819d8facd1abd3a5fc2e240632ead27ec2fa081408196d388aa15c51cac3

   Signature (PKCS#1v1.5)
SzMcBS/Y2TcZvWCcncCl0Q7hQMVgZTj/f8H01FHGq5cFT/khYz0DRpZyKVV7jhgCPSfM6/ER0DWJJquUdzY7ndWTJT6/NPlVfDxZ9oTCndvaOx9k6/qtjJMK8jmMa42jgsrZNFzNLqchek3LCGSyIB8yNXxDC48cKPeiDbqODxdKBUiaa/kFUOBfrY8NwbWTO6UCV5QNz1i0x8ItOQRLF5E5fIHFF91i/
X3TGPRKoJTx3mWc7fOcIi5p/AsVMFs/6M3N/YzlHWdUg22Px17HhyPiHkgQJbikamY7xR0kHBeKTbEh1BX0K0e/dvbbrblA/Cy8QNEeJcv4I+o5sqs2EA==
                                                                                  Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Stud Earrings for Women Girls Men Stainless Steel Hypoallergenic 16G Screw Back Tragus Helix Cartilage Piercing Earring Studs Personalized Jewelry Gifts Bff Birthday (Gold): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Earrings-Stainless-Hypoallergenic-Cartilage-Personalized/dp/B09FLRHYPN/ref=sr_1_229

   Collection Date
   Thu, 20 Apr 2023 05:29:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IGqZmDMpDtUbquOi1c8YyZeO1Ws4WvZtXr1F+6NJCFUAqJ744f9romWEWckE3+lPAg5xEfcpMKIRfFX1ZBLQ3HgTdEiQLNf37g+lvvcPm2PxNgN+b67ifkLSdi88qE41qEf8Muv632Elnnpw8yc4hNYaMKOZjHiyQYIPSx1nSM4=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Earrings-Stainless-Hypoallergenic-Cartilage-Personalized[fs]dp[fs]B09FLRHYPN[fs]ref=sr_1_229]]_Thu,-20-Apr-2023-05-29-43-GMT.pdf

   Hash (SHA256)
   7531c776f043cac1d348a5504e9f5454548e02f996550e5c33e6e63a4ead47aa

   Signature (PKCS#1v1.5)
MMz2zu8wN3mcguXIlPGd8BXtoapKwLEM5v/R+hgD+ppJG3UcKqxRpR/07BwCMtGkvWN+HEHvbXNoAL6aoCbRdVMD4igexaq9MMMz6vuB7SXSVJ73pbbHG65LIXg69I9qHIKGEYAuSoGwFyufdzDhE+ZHGqI0NhqPrTV9sBcoTWs=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 17:18:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Db8rpGafcIzpDwdt3nt6DREOByInpl2yQJlxZ0jXjF0n2X9hss30PY6cTg9JPKqgUivwGZOPmjw7R+nka8YrnmmsFVxxB8/8BsYp4sypwYm8P2FS/NPD/u5Syk6mqFuibiyyVUFjV8M4hXRmIYWbHlDgxsoV+SZFUJlbtkDw+7P8skQcH4mtSWaEB3T
   +FoOlFVIb5ct1VmSWNAdr0si6Ck3GnSLB58EZgoG5CzvHg/JJvGxMpzBnmWjJnbXBkOi6cwu+noCRbnlyDmAUG0yY7Pn/UOm9ZtaBijPW1z7kfs+8IFq3AEaz/qGRV+7soD/QXJ73WHzwA/MQGEhO6FKA5w==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-17-18-04-GMT.mhtml

   Hash (SHA256)
   b3ea03a1b27d7a2b0bd3600f11d66c520b8ea1d0bf9fe1746d7d9743d2dbe886

   Signature (PKCS#1v1.5)
HxtTNb+b5HrNuHYmDgY4HB5rVkvpRQ+4bHzfH5aA///IG8cS1fW5bkeivmdX/uOkg4PsE8kCRng967d9WIoVOM5TWdqMGkD6XLBTZ90iVx4I/oZRfbWe65tsYhakuTMCIrw+xc94F1BQNNzdNpEwFosfN2Z2Z58gQDHGZ6ySbGZClbcX3xTP53e8JDa9pD3V1WajqYPjs4UP03alDY3M/
IpvY7Ry32fUq3f8mhMZxWoC5ar2gnsK2UYPmGa5PwdTuLhneKMDmzMic04qH5d9mHquAJlFX+EXzuE3p6WRVUGAY47nl1Z/BVf6dozkXG1xAHXVLbCX3B44iNBSsNJAfQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   5 Pairs Cute Smiley Face Fuzzy Socks for Women Warm and Cozy Winter Socks Solid Color Soft Cabin Plush Socks (Multipack-5 Pairs,One-size) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Pairs-Smiley-Winter-Multipack-5-One-size/dp/B0BKTPXQ9B/ref=sr_1_99

   Collection Date
   Fri, 21 Apr 2023 08:35:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pT9jC6m/zl9FZRxov+5oMUHqvpUBbip8jF1PJ4K7TrzreEn12PrRmnurx0VUD2VubSEjWsDARYtjquPc5ZvTQjwBVeVi6m6jz+t3x345szSe1+trMxOa2YPbPO9veLDAPYBZhPVVCFJNPtwgcNZgGOMVo64UPMTaTTjEkAxPKwo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pairs-Smiley-Winter-Multipack-5-One-size[fs]dp[fs]B0BKTPXQ9B[fs]ref=sr_1_99]]_Fri,-21-Apr-2023-08-35-27-GMT.pdf

   Hash (SHA256)
   99937be9fd4983e9be1107861af4d622c1bfefa06dafd7cac1a33804e4e17d56

   Signature (PKCS#1v1.5)
aE7I8u5usRuJySmAwzmLJ37LmwtIToRUMn9uMcRQ4IyGcAdW2KmzWZ8Av1sQbY9hcnyC5Z1363/ivt2XkS7JtyVtSwxJlEpVwDFw7YmSNJSsn/QPD3rtrA1yuB90yfxLWZk68Nkhv9sJnk4dKEyMtaqH9Vj8IIW8V55iyQPL7iQ=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 09:43:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eAre4nLLvgLYu3fw3obIEou8cHjGYswo3RuAO278f9F5XTcljlwZig/7k9JncCsH/ieN8jGL4k/f/TmZ9yNM8/IJ6/rA5LWvIYi8C+7Cm+vAgizFYjUMnyG1j/MNg1axIyJ5qT9bzHK0oJJVOi0DvLTX4ZL0an5bsqEHiLo2bGSYybrxOGcc2ZguY+0LkEyKBX17ZKxd9i+JjxeR/
   Fh31CC7e31mpK8MPFKkYkH1CqHU6lDuSaOKBIfu7Z8hLBbS/r5evbhhTc8Ns0XYqRTDl5TToAm31b1gEpO+la+1BqfIJCRg5AB8ENNJvKSc9P/3ZFOSe4dJmL+Me16jcRwrVw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-09-43-17-GMT.mhtml

   Hash (SHA256)
   34c7b4c41800899e66f33adac62939616ac7d64a38cdae4cb1ce938b25970534

   Signature (PKCS#1v1.5)
f9tBYCBOvBTX31iTaZET5/2+ugx3DxPkMvucvxvqqDANkQ/QAWbtz4hICY0oacJXpDnpoceK6jcNpWl+nEtvcuAhzFHFnqN+2EfETumjYNffUh0huCmaOeTPQXGJHoj4c44YCk7R1nUN3oGOseD1kHX6UpwfEek12jEhxH6u8bQPqaUxBnKNFbJ3TqHx9BRsyvjZ+lPQOC242nB7Olj25tfm+5Bvkv/
ptGqky0DXnF5jKeoVO+g4Zt8nz3jBGxP5wz+t3Wr5N8Ay9gv/SMh1SbYmkAF36kgfOeeDd/pjt0N5uXfT5JlrYXdGFRwS5G4RDsVQepu+4WAMrUdUG/2q2w==
                                                                                   Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                 Evidence Collection Report
   Page Title
   Amazon.com: 2" Pink Smiley Daisy Patch, Daisy Flower Patch, Clothing Patch, Cute Patch, Bags Patch, Craft Projects : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Pink-Smiley-Daisy-Patch-Clothing/dp/B0C2V8X7MR/ref=sr_1_203

   Collection Date
   Wed, 26 Apr 2023 07:52:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   V25pVy/DuYvAX9nbd6GZokihy4IXCXk9ZiM2rN9ZEpgWqDJ0wh0xyVlddZbnJiv933AH2MBGb4YthyJZUnOOjlGutnWrsU2FUMYhizpdTSpHANLAWCfARckFKtu/P788seBLnoihJMs1Jq49UVqzkxkTWZieufT9HZgLK/XQhy8=




                                                                                                            File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pink-Smiley-Daisy-Patch-Clothing[fs]dp[fs]B0C2V8X7MR[fs]ref=sr_1_203]]_Wed,-26-Apr-2023-07-52-39-GMT.pdf

   Hash (SHA256)
   e3f472fb4d234d76e6e9e16a21afce53e2d1d1bbb5e65bf9c1f7c6b67655ea0a

   Signature (PKCS#1v1.5)
LWTMhVsXIfigPR2d4LAw1lQmhAt4VDn0l3Pm23gPjXDgsz2D6WrJo/vcmY5V8dkbs22LWWCWZJB3D7N+KKVjNweJRNyjLLWEsKY3KNhRrNBwnu4ilI3HbMiQeAoIVSiRSZ2mQcsNDBJ0jp0O0o8Kyg7F+o3F9CRwn0HTvrE4pVI=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 16:37:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kyJSjWf5r+qViGUEpYeGD+peEE94Nup5Ic40d7+GWRq6lITnHtxCiw7beK+5qIq/KEcHFyM88aGrb9/XlnZ/J64f7Z3qts0DOhND4lyFBnA0VOp5p3y+1NUEptls5xOL0li64vN7RUY/sUIKpNVAvkVbHLg9UEQhhqDGrCnsxpAScvIu5G4SlkKiyRWI885rhOX+vckcGu
   +mILn5BamtRuBrG4LmLM7XxX6Ks20pZiq/MHFaheiFrtD2PVpCIZwUG9HlgcksIxESuYu/e0dpNiSPpgSQPahY41Tjciy8iYFlOEIDTk3fKNS8vW6dikCC3hl9FFL2dlAgpRv9iCqhgw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-16-37-27-GMT.mhtml

   Hash (SHA256)
   8cce82ed0bea5b2f574a462721077d3ba55f149744cc588f96ef6f45f9a65174

   Signature (PKCS#1v1.5)
SeMwEL+6O5PMTbKWOvgKrtfknhSa4ot7MGpzSYd7L4mLITdbIvbpXsGyvU1+vBqmH/KKI4xwlScwAJdFO6Zk4nGe15BVjcj4suxj7J6gUrJDZg3kMwOIr9uKAkxAsShiXvhGh/UV0i6Fm5FWvNcTj9YlD6liKHEa1FLcS5Larub2iEoPAbh7DOD2RaCKU6Poh9bc2ANuffNVag+dxzhgZVX/
zBbMmiWarV5E/LCc23rqb3UleKnVyNyGGim74Nwfx1yM3fc58B03HqcCpkAZliaVssro1E+SwCyj2VinAD7JffqwmAnw1nkROjZbCcb12riqzHJ39pDAHGIqQE6bNQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Ladies Titanium Steel Necklace Silver Chain Choker Trend Elegant Smlie Smiley Necklace 2023 Fashion Jewelry : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Titanium-Necklace-Elegant-Fashion-Jewelry/dp/B0C27LDZG8/ref=sr_1_30

   Collection Date
   Thu, 20 Apr 2023 06:09:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FGgl64Jw7HlA8AOHLImBe2uZA0wX4OtzEBYNl8qYMpbkBQrPvNANvCDoHjhx8ZrkL/UrxdF5XEPE3VAvLf3YkmoARi0Lx1sV0W+3skIFeMRguF5/4hz1C114DbYt6otvMXFgF0SMp0lPlMuSRH9kqOGGjrHh0LHyQSkzi5WoRgA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Titanium-Necklace-Elegant-Fashion-Jewelry[fs]dp[fs]B0C27LDZG8[fs]ref=sr_1_30]]_Thu,-20-Apr-2023-06-09-00-GMT.pdf

   Hash (SHA256)
   b2c53f9b9f80e0b5afafe5176d09f7082481d95d0c095e1ead8002e69c8209f7

   Signature (PKCS#1v1.5)
UGgOTaHcvCwRiiCk547xTIYnFfiVTZHPcX6AEULbXMtqNXpbS9DU+/3AARhsZ2k1OauCRUDYXs7DF49JhAaqdQ+8qVQ4Q5hYQbxYpR1nVtLjSnDqCRWsvEQA67145rbxdlRYKrMgm7DsiNQQJiou1zfhwJ8Y99Jm4W4nSmnfM7I=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 08:46:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XiqhiSKpSa1Z0NQ014r/C6MpymvKB6qELbmgP70SYIpmsfC2hsv0EWPydUPRv6umQL+00tyZ7pjVp/DOYQoGCavwECYpaTbWksn+i1b4soW1H3yrf6WCMzhVbhMuJmn/CW/d8Gz+ovA/e6yTVpvm0vU2AQkGqZenqQWgv423Dwzn8oSwQz3j8gvo5FbFMC0kZVk/HWMR/BG1Ua9W
   +2pf3OuT/uLRq9EI+1ILHTy7p+aMeXGbmHyymtrlQD/srVN+tx47jnGadtnB+cwlO09m9kJ3u2DJuZz3jVLNAfy389JAMAU/5nUxY4BNgmKmG/67wKjNI1zJB17e/VaRYJYZ7A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-08-46-13-GMT.mhtml

   Hash (SHA256)
   345386b94755d148b650d89d412d8425fa21b9342d22205d30c5b3d50c171698

   Signature (PKCS#1v1.5)
KJAVDsgflXnlIe+YOxw9rskIMljpN5hobiIOeUEZt7ad9nYEYV/t4f2JAc7iZvWWIi86OGsjWVSY4Fd8iBkFH2owYfBPuxwIimp4BMjAR8sJgtaRMi/QTfC1UO/o6zYbtORoXM3TasHm0CKJTtnj1RKhzLgxAW5Fl1XJ8cNlDhipp3laxNvKS/ln67NoQa17u/Q4012E5OaDJrEnTK6X7mcAimn
+qMoJbjP4TYoqJPzf3oD6L2ucO0/FtZpiqb4FbynGMr7nhK23HfrAtW9t02byC87/EZdOTaX38Xi6zoLlycKr10s1co+g/O7+pGowumnnorbIVTE8oLZFezVwpQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: JFUYJK Socks Women Soft Breathable Combed Cotton Socks Striped Flower Smiley Retro Cute Socks Autumn Winter Socks : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/JFUYJK-Breathable-Combed-Cotton-Striped/dp/B0BQZYMP3P/ref=sr_1_3

   Collection Date
   Fri, 21 Apr 2023 09:51:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   a/gaoxy60mRxf98IAzxiGBvvIR++XQ1hUNMXwTpI3HcJvsWLOAo6buQANFGDRk0xBvxuXUTdTQV/8Rg5nfFNoJA99YSx+73yBj6w1zrotOOtiaBrJjqjmBVcv3Lhj7QnE3QBdgFW1uFyvnaq5FIorgq3RqxTU36yioQV13+xWPM=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JFUYJK-Breathable-Combed-Cotton-Striped[fs]dp[fs]B0BQZYMP3P[fs]ref=sr_1_3]]_Fri,-21-Apr-2023-09-51-04-GMT.pdf

   Hash (SHA256)
   7abf0182c91998fbb961b86b79ae884087c4356728f5acf37d50c84e4db570d1

   Signature (PKCS#1v1.5)
rf0vuGbKeZwfIKg2uv678EgK91aQ2rhq45G7SOE/TOFJEH9+gYDTYnuk3pVjBAJZmNvXyL9fi0KUUzPCw6xs+ynwOtXq/mQ+l8uQK7l6f25koUVTB2dv3lnkMhvKJwRgLIaFnzHhMaPsYY6wRTf7rGo/xE0N+n+lBplYo84T1CE=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 01:50:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hiBCDZHg2ifCnCC++VBSdAKG7+Hj7ZsE5/K2FOl58aLKyzgrYALe8NcqkM43dTaaoRa7xDQJ6pderKKyTqamoB13V7ubeUFq3fCcf3TMZdXmbQF/Ttf8TPZb1SiouVtf+Sa5p4IGi/5KWKs/us1PP
   +85XNR28dVgoP4lH//7yhZrKN2+CDL8zF7XcF6PTkmG8EeWIj7E1295GGAGrYZ1ya9Ypy56fja8baAtu1AQ6sgMpm8rjBDDiJsVf9DNySLTQ+4xYlNZUYl9P6bdp5mDCnfyUHGEgq2umhw8TRVJigbv3XO9/0YfKywE445KcMyjZwc09C+5ysh48wZ3vCkdQg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-01-50-11-GMT.mhtml

   Hash (SHA256)
   0b8b01ef713f7e7fa31dcf176468f04ea7e35377a3b2095d0c018883d84ffec3

   Signature (PKCS#1v1.5)
TtbMF10ZJSiA3y5g8dsp7hwgKqi0JmuJMN/TM0ylb/XyM3vFBmAoxdu/1HHUzgoWaOH2TV0lg/wPd3XhgyS1pYSaq2+sjEOjFWaJPF0tUEuREAelba2gqV/QQwZOJWJowbY/oDQBCfbkFfGa+T+iEKTOVSO3OfzlaEtlp08mhbLbNwrW9hhPdFsB2ZdXj2rI4LjS99k48H9LqJyt7JhGnZnKVGdD5Se/
NBtD3VPmCNuvabAKlaH1LJ6ia7NAmou9yx9SXId6+1Sgq8gpCFwvD9rtGO9T5nHXSPSalwcqds0FBxSfGJukEvA1jfphbzKtot8LBUDfKxYB1zLkzCF4qQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                                             Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 550 Pcs Smiley Face Beads Colorful Cute Beads Spacer Beads Polymer Clay Vinyl Resin Acrylic Mixed Loose Beads for Jewelry Making DIY Glasses Chain Supplies Bracelet Necklace Craft : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Colorful-Polymer-Supplies-Bracelet-Necklace/dp/B09GP1BLGZ/ref=sr_1_148

   Collection Date
   Wed, 14 Jun 2023 11:43:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   sWWuh+V0duc2GPwVRLESOEw8MthiHEH5jCm3pJTlKG1nRNHnzC/6Cd5u2qKzfhO+wnU7QF6TBkY+RDOEyBWjnw1UL/HNpH24av/5OVzSoQFvAw4UMiIyPJCdtl0s9MPAksQRZB++JZVSJNmP2c1tTn2/uL3zZLwFk+pIzmft1TE=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Colorful-Polymer-Supplies-Bracelet-Necklace[fs]dp[fs]B09GP1BLGZ[fs]ref=sr_1_148]]_Wed,-14-Jun-2023-11-43-17-GMT.pdf

   Hash (SHA256)
   0633b34ad60affdcd0c6ce83936425d70f4e5cc1b5d0fb5e85d093aecfcedc9d

   Signature (PKCS#1v1.5)
G6ijwlEab1GxCh2VyMZFYar0UXEcLRRw+4ZkfQfp+hcrTQtNOb/LOywYgVhTeHpQLs/opXu8KR3ezJE/WpRP0GDhqQvfV3/AKIhTmPGzRsBx/3DbZ9tlLteieZyziYFEpkT2UatxPUGFOtI+66x896oKHPGm18mFB3up+No2Qvo=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 11:42:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XrX3HFyr+e8cwflU3faefE4a8BFgO+l5LmkCWp1M2y/6gBiPJEKdgUrnqzW9U66ZWG+lvNPbmIt2TYiAzzT4tMkQeFCYq4HKT0I5DZPXlOBCMv4hl1JNDhO515s4/ayMPqF0utSwac93vx9tOzA8bydzXZ8H2SsMKDJ2gT6Xs7ZvX0Y4v6rRvTx3poGQmoZb9zsiVr8CqJ+kHGzdWnjIFQg
   +pYNsPQNn4dxz2zo9/68kLnzcRPRXmbLeaWf3VRyxjHLAUBMUU3U/bfagJvlhjAdHXV6u9IqBGJX565a1vkKfgyS3NKtBNiv+OKbDGqzOcNEWqCMUXuVLabnoKqjGRA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-42-22-GMT.mhtml

   Hash (SHA256)
   90db5bf5ae4f71356c6d4ce3b2f1502c16360aaee2307c49d690008f20e349e8

   Signature (PKCS#1v1.5)
XNnBAhlOnxkG5+hdhvbEuiUwKYkvKv0lELzAMxiMubSLhEB5X3NaK0qWa12TvtqhhU81MKmqU1bGzXPEETieIGmKxp3z90LaMyn2xgp7goXdmdvGov6j3yz5nR0ItP6ii2fUO5lI/SPu6qopOSZA2raNC/OSDiktmOxPJadImM9l4gP4N1kGiztH1fLv78e7e1wxXYofUR4V3UIThg4hWnzIOestUC93zjqo
+VnlcD6g0ESNdpRbPsMXiR5+216UWscEo3a8Z2LiKdkH+Fy5WzVfZ8NipZLM78B2/RuIOSXoN6cHR6HKAXOH2DrdH5HTXHmqgHSI+HgzLPhzNWZQ2Q==
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Nicime 8Pcs Smiley Face Badge Ree, Smiley Badge Reel Retractable Cute Nurse Badge Holder with Alligator Clip for Nurse Doctor Teacher Student : Office Products

   URL
   https://www.amazon.com/Nicime-Retractable-Alligator-Teacher-Student/dp/B0BVFRBTWS/ref=sr_1_245

   Collection Date
   Wed, 26 Apr 2023 05:34:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AS3tfEycZCRDSX6JLad9giQkatmXE/Aefhheot9nBK17R8z4wDK3C0zZQFGATCnDLSZQ1YiOh6D6QdUSTdDGrCMMibMMwHa27OXSioiul6nMjdIXu5q0nDV3dEiDIqPJZtcbAd69UfazJ8CSzt1EO+Rn+X54+IePKxKmWFYnIms=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Nicime-Retractable-Alligator-Teacher-Student[fs]dp[fs]B0BVFRBTWS[fs]ref=sr_1_245]]_Wed,-26-Apr-2023-05-34-28-GMT.pdf

   Hash (SHA256)
   f39fd6d8af9089a53b95a0feaa8f6b1c8728ed66180eb38e11437634e10b90ed

   Signature (PKCS#1v1.5)
gQjzgSJUj+AQM7AsxTnMIJaajxaTkEyTsP3j9HwaJhsPBBqEy/qLR+guY/pVoXDvfyyj5ZA9MZ8YCQaBENncetW0a10gjyAc0WbfnGSL4fVDF5/0TTKA8YytbYryjziVHzKSYupnC/7zt3BNYylvEyg0c4hB/cfB3RrL/3/fAQM=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 05:08:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   o9fq6DNVDOoiEa7dp8/XiKGqxbJtjLKSBV5JqbBannQQw3ZpNWp267hXnKeJ3TpDQ4wzFLKdiUx5EoX3j9+nW27hutvZ7EuKgI8W2r5d1KTADAVZbOSBgTllyjpFJvTsZYU7Z7EpZuE04exNN654bfSNxJsoXj65xvMehORwQCZcHQKen788Eao7hmzTa8h4YgNXFWDS6duHTMwyN/d/
   asfSk7wbJsmhj7zr+bmF59+jBOvpUn5k2cQJd6pso/+YzcrbONDDefgURUMnwd9f5gGynpXOqhWK6VpPVabniUV9nhki+YGJWIRUxkhwx4LM83MyRR8mEYtlDQQfrryPFA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-05-08-27-GMT.mhtml

   Hash (SHA256)
   eda1207fe0192e2bde121ae51b265f69a51c4621a798bd3ac8e545d83a5dae29

   Signature (PKCS#1v1.5)
QW9LdGMvFLGDi021FcRza0lF6N/o0gi/cZPAhsDG2whDBagHKf0+4SMr0iBciv6tzPs8KUP3FHBnQ/b5bXWSZ7/SVGjIeho1uMIB9V/gz5j7a837HRe0qCmdCCNBPrbALKy1/q2jF7MSx1W6PSXk6B30sSeIGa7gU95InBv4+ko6DOPfD6HMBcTD8pU/
giKTCLuUKkOG98kSazCWKgl695EQnCc2nK62Rpk2IFBOzDdNGUkZvOLvU0QJgqU7XCTFZ39vahPVS5MrXOnva434T7SxnLYU3k2n+KLdbnT+DSJnXTZIvLeuUld6s/ocSH4byxK9lXDeBzVuEydY5DWe6w==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: GCHBST 10 Pairs of Women's Thin Smiley face Cartoon Invisible Socks, Women's Low-Cut Ankle Socks, Casual Cotton Socks,Coffee,one Size : Everything Else

   URL
   https://www.amazon.com/GCHBST-Womens-Cartoon-Invisible-Low-Cut/dp/B093GX59TM/ref=sr_1_25

   Collection Date
   Fri, 21 Apr 2023 09:55:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lxINRaoosmMpcjPc5GsyCJmsfeMIPkPb7exda0f6bD6fObVOq1C445BzfCpOl4WggWowyC3qgY3wBM425AE8unGame3t2Y1KcfN4HxH7fQQ5RUa3sQcuJliLjTn65Pbgt/nQ5LnREUQKkY2+ca9jVgPS6jnAEk99S4ANHVXJusc=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]GCHBST-Womens-Cartoon-Invisible-Low-Cut[fs]dp[fs]B093GX59TM[fs]ref=sr_1_25]]_Fri,-21-Apr-2023-09-55-56-GMT.pdf

   Hash (SHA256)
   c53effb011fce44ce09fb1282245afca49bafb174e220416533c4d9c47dac515

   Signature (PKCS#1v1.5)
YSBb1/qxNZGkHyFm6crPFoiqEBTdqEilOaP5LaJDPyu9dhmDjykjIV6CFvtE17SK52R+xLGfRbW1j2Q99lcXYtfU/3n/fWaAJhW9UOot8Q0yqyTt+mhqu3TzTpnvPvGiNEjcqF7F+QASAmqtv2+LQmp9A72qFosOSsJZAD4x8uI=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 03:47:15 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NNjerry4M2XyxRws/Dg+qOScKy1FnDU03CDIax3/nVIF3w1z5R3u2wCftAfjpQRKSL7myLUzfIJ2gHSwRA4JxbZkZBqmWfVaN//fd2ABI7tei7J9C0DKvG5tTTGCtj4bXKRxOnaESmme7vRD2z8Kfzs4n9R86V9Kxg07SyrVzfxb05Ut2LUBLbcF4tBLktj2qY78KO9KC9+7Ot9ZY0S
   +TjCSLPcgE8eeTBS7Prs079HFf5hEEWEzoOEgpOXFkrUyshUjVOqCjvMuQkv3eQW3r70UEcSCcQ1jsbt1RbJYDdy7oqmVcAPo+sY9CiqT9fwO8gR9O3dpNfJXriWqg9dwCQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-03-47-15-GMT.mhtml

   Hash (SHA256)
   4b638542bb822c648893e4821dcfee3976894e7cb34d142f0a3f2f5569cdfe78

   Signature (PKCS#1v1.5)
Hvw8/Oa+hQ2PhilvZ4LcVq+Ln6OJUqgMhYFwNDdfUQfrf1BAXWAjh9rSznhHKuqnbdGLe0Q80ov4jWotDokDBpaGJARzwSyY9eIxNcrUuqLkfJXWoU/T+9mGZ1iV2VHF47m/wz4dtoWH0hke8laWY0Iu2BiabWsadixILKp+PKYrS3NG7ZHYGHPPPzpcGQZTy8+wfdj
+k38H9UH2UDvlKENxzNk2g7MDKpFwsVgRdsm56IP4UyKbqk1Jip6/phDDrF8ipAoGN68gQfLpXpr0e+mkbHmm2UuPOESdI9LBblGa6Mcmjwh7vuBRkd1Ukbv5C2n0hODTY8Cb2+36gqLjcw==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 07:30:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BH2k2Zg3uVtZvkhabs1g6hk3vAouOA7N4cikr1zRqxxZrXIM+ew/SyqftHUQyLop31JuAiWtFYnW7ZRRPLakapmcob6qQsIPPsbS+lqLG5UBVO2PQTnWYDLhReq8OQgRBdFMFhh5MDPS1WgvZJhYwfWEbUHEY3yHoJnHmPHFlwPfITV5DNY5cmxZPlMOd
   +pfAI67X55MMWTDPQG5xgJWTdAGf9Ja/vHK3wy8R2aRN9uWx62EbaPFcVPX3HVOiuaalwS1/lgwvCKawEXoWre1QRZfEzHXQPDrZYg3kwi1T8KiSDGwFmYRryEgyU/4jB5iDnfQ4+TBIHXBbOrEpQ2iUQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-07-30-24-GMT.mhtml

   Hash (SHA256)
   a11cf159a59c5198bea265d9f89c638e7661ab9606bc61e445dad86816b5e985

   Signature (PKCS#1v1.5)
lb7o0kpwj70AB6U1ODKV5Oh9fDetc5QuTOBPidJSMHKt9JZeAkgXUz/V/a91obZe9/QxpfY0jWhFCvvBCFGqHmqyfCQtxenswTMK+TcQVpTY7+eGL9MhcYxFTVmwnGPNwowUfR17gReQZvn5qiGKl5hUUc7vPVgxCpWt/KgmCTdDvSI0qo4vlu
+BhiiAcPq1XG3z6LRrT3PFeI9rqEg411bzPOXTx4HGIxavub8ZxB2ZL7mQSd5O2A1RIxnsUxxpO2/sid7AmEagIDSrdyA44R/r5mLU95X8t1LUc2DhVaH20jqnc9Njg5HFjuj8CD3jA+fZQY7l2sXKNP5poYCxMQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: NITITOP Compatible for iPhone 13 Case Clear with Card Holder, Cute Heart Smiley Face Love Smile Pattern for Women Girl, Protective Soft TPU Shock-Absorbing Wallet Case for iPhone 13-Smiley Face : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0BRB6WNQH

   Collection Date
   Tue, 30 May 2023 07:17:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IV636NSRWUajsti0U36VCc3FpOAOwNrjMLbz8iWEk+sLoArBErovm28VUmcle+1dYnPdjn+1hhZ3ga97eV0n1thxteg4zV024HYL1kX+N5rkvrMuailgMqwIm+1zdp/
   E6j8tH3ALP4M6IYTsZNg6GKhJf2KBUw2tQYeNFIVnw0E6Wx/8XAztSDQhTIP7LUuJ6yrAufR6grO7kv9lbIo9iVX1rrI6WYwdTXp+uMbPsy3LieCDrep391QfxI5W7ebKgoIvzBxkVMD81oTdBqW2e7XNTL7J8aUYjV8htYT4gfL99IKgNgwuK4mwIlurS6r1Fj6kwZroMXW/Z+HkkTR0CQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BRB6WNQH]]_Tue,-30-May-2023-07-17-08-GMT.mhtml

   Hash (SHA256)
   722c392cd2b4d02ca85569945a47d575e3355007d4c2e381449135cdc54e6b84

   Signature (PKCS#1v1.5)
CG+I2khYgaPcWuME9LvTl3q/3ovjTliCYjQeS4uHs6hMBnSvxFC8ih9wGjZCNih8lX+dG9Qs9B4VXm9FJC/5vACIo7Z9YWmYT6yxA4mzONWWc7g2CV6WtbHuZwfJ24vO6pG8YzjO4F+0dMDQwlJmZtmIO4nR2y9350qQvpaCm8255JFbKs1I6qy0aelC4rtAbT4qg+0mSI9dO+B/
NLQYQgT8bNdhtybc0J/dAiidpGdF30HcYlBXGgT+TnurYyNGAt51Irq7iMyDooOzY0IYfo5VTk7aYWhx81wT3lwD2TFyGznNzFBRFDHV3C4zFVxf9rTrPIxo0QLuiHRTuPInvg==
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: niufoey Designed for iPhone 13 Pro Max Case Cute Full Camera Protection Luxury Plating Smiley Phone Case,Raised Reinforced Corners Shockproof Cover Case for iPhone 13 Pro Max 6.7 Inch Light-Blue : Cell Phones & Accessories

   URL
   https://www.amazon.com/niufoey-Protection-Reinforced-Shockproof-Light-Blue/dp/B09T37BYXL/ref=sr_1_75

   Collection Date
   Mon, 24 Apr 2023 10:46:23 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PXsySQPvEuWZRP+vzZvqETJHwZHw5lQOCK8/bLE4lxNUe5rFRuOZp7vjltfrfSZlq0CSAXaiqB0cQ0yc0GdTqvno57MsHnjqmHVfq7By5F/vm1ohb1Upfm7z5lvXqAsRVEnvTXfetR9SWu7nVRPxILJycy5AorAmhllMeO5qYO4=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]niufoey-Protection-Reinforced-Shockproof-Light-Blue[fs]dp[fs]B09T37BYXL[fs]ref=sr_1_75]]_Mon,-24-Apr-2023-10-46-23-GMT.pdf

   Hash (SHA256)
   2c5e05a10d573fb2e2b1da386746d722faac9ab218f4937549651ec04ccff01d

   Signature (PKCS#1v1.5)
GXRnm6tiQ8yIoNmXHWWhbQ/nlctGL7gsE0PmkfwjpEFKUe/SsatiNE82xQCnTT5W/PDhmPgZK0PZh69iw8bktSVZOnRz5mzkg61DHhnw97Hvomb6zpXlCCB/hNhr1xETf/MSGIFZrUw7+LqohhbyFEdk4avCqEDLufQWe1cwt/E=
                                                                                Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 13:54:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Hn9lhURyP++I3r/LLIQuCPMtYEyI+ChKXy/Fp24Qh8urc7BQr+XtXIeJrUzitwMhP9kfMORsXu11q/dR3WewddJnRpUEsC84dBVfSc5qQ0CMHaDakg23MIbHPFzdVlafFQY4f461zjsOtDMEq/4GMKUiI533U5hSg0nadF06C6ec9LVCJC+qxIXFx6Q5IkBYOFIZ0EeXiKQd
   +FdNjSqqn6HjqpDLo4P3D9Fa1D9bj45eMnZLJUKsR937KgxAiRmtxhQcWjVIRea3i5Uf3EX1ZXot1fVfaTQWIJgtu3b8a+XIXoV1jV554vHjyZ+iiY4pTTfRtAxo3u/Mdr42Gc+kRw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-13-54-29-GMT.mhtml

   Hash (SHA256)
   66dca65754489576ead6f6e160e8744cc2f926ac3a2a2704c96c7b263784a203

   Signature (PKCS#1v1.5)
AA+jv7qq2AS7lqTKxdoEpBi+ybKitc9aDQ/uk39UrN2DeQngB8V3C+Nbh0VobKTv3yLs3JZZjPVk0Ltmo+BtNuZnaiEVDRXXJwC+tVXrlvuV4WUSAJW8lAu8+NzOyXJ1YNx+aLYR+tRM4rAR4zTWk9ypZ0CVmXl73CjE/o4GePfRUJHjvC7gc
+7On90RIq4b7DgDSqFbP3i7zyRUkkbLkdM2jXkC6lYklu5c6iQ79erDc9tHSWGLKZrdRWzkCuvfJhRjF0nowxHDXGT9UGh7uzihew77Iqgcds5MJnWeuh943e5zMdlva1JHdLWZKtP+kj1ZxTLup8NmXBzwlX4e3g==
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Cool Patches Original Design Patches Peace Love Happiness Applique Patch - Heart, Happy Face, Smiley 4.75" (Iron on) Fashion Drawings : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Patches-Original-Design-Happiness-Applique/dp/B0BGDXL6QJ/ref=sr_1_239

   Collection Date
   Wed, 26 Apr 2023 07:55:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mFeDoTTB2GQtB7N4c5sOs+jFft/owbNoMgjbYww9aCG24sMVW4K2H/3odhRt5xTavklQPeTQ+1odIOshHA1ul9AphUndJQ6bP5WveaaGsZNi8B+kYqyK9d/6GwMO8K1+h2CCQfBn8WzIoTWJaMZdc7TeLD01NTZKL9xRp8Sl4aw=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Patches-Original-Design-Happiness-Applique[fs]dp[fs]B0BGDXL6QJ[fs]ref=sr_1_239]]_Wed,-26-Apr-2023-07-55-39-GMT.pdf

   Hash (SHA256)
   bb3870f5a1f82bb995cec15674f321fcbc46c25d422a37eef3b368fc8530cd74

   Signature (PKCS#1v1.5)
TT6VXVZ+TTW6fSYQDKrTzVpUizvydYtK5Q8cdXGwd2+4n7+NKTwkAjnyPADvGiJB4VDNQwv0CFVsMaGUNwvYnPCnmWxlMKz+yk6JAc6YkOO5sBLA7zBZh/Se9R2Gj8o1khk2OABsFQ2nLg8uxMaQNY7oCXDYa+6hf5Hj8O3wZeI=
                                                                                 Case 0:23-cv-61203-AHS Document 36-8 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                           Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 01:21:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   M3gXvO5px4YKIeWYzYcAT2oEoOYf3qKPI8njdgLmg+Ux0AX/kEuxFJORxcW3igfjCkvRua7e50Oee2slS5JPYMxhi88UBqUZkv9anB37BDRDlz5t69+833EqER9mpKLmMiMmO0j4FVp2xN7qgUGJeBFHo2Ux+2LGtuBkxJdeYW
   +HRjZLnhzgZFvsXKEOjo31bxIEMVx/0DD7KTPqQKAB0b2MgzwypbfoyBZY7d9XTWZKcKfDBxu9/MF2edFRZJgLD2dUhmRvy5ncCn2V7HZUwlFwguCSoJD1I1Jd/NDJYcHezcL42ehP072F/DtwUfhCI+aLQckrTt/0IuuoXkXhdg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-01-21-17-GMT.mhtml

   Hash (SHA256)
   9ae3655068d5596ff69fa11b321a7335446a0d4319b8ba36bb49e967f8bb2ddf

   Signature (PKCS#1v1.5)
Rqldj8pZWu0bhKmRtCWdGoeR9z/VXMKSJuqCVIt9iqy5hMxnmPdqX41aGKd9J5TziOhrx3Gk2bPUHAJGdWvX8i1L6BzMM9xxGeIjcIp+20gLNNdP1w2eYst0Bsk5m9sWoNY1OcE4M3hQyX357z6zrL4jNNIDcJ0wZqlpi/BlP1/bevnlVCOJp+gC
+Uwprq4QmHzg7DtWd2HpiIBwiC1iGZPcW2aEXPnjrfbSvNk+Hu+aQWHAnq7YuGQWlTLZp/lo6QB0lsK3+mfj48pRckzlLQ57nKobHMc9KtE0wHS9DXDxqQxxz2UiUVcnmUR5VgWwut/5uF+vAwi4+bddRpGBlw==
